           Case 1:07-cr-00057-OWW Document 112 Filed 05/08/08 Page 1 of 2


 1   RICHARD A. BESHWATE, JR. 179782
     Attorney at Law
 2   2014 Tulare Street, Suite 414
     Fresno, CA 93721
 3   Telephone: 559.266.5000
     Facsimile: 559.266.0507
 4
 5   Attorney for Defendant, ELIZABETH BEAUFORD
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )     CASE NUMBER: 1:07-cr-00057 OWW
                                                      )
11                          Plaintiff,                )
                                                      )     STIPULATION AND ORDER FOR
12   v.                                               )     RESETTING HEARING
                                                      )
13   ELIZABETH BEAUFORD,                              )     Date:          MAY 12, 2008
                                                      )     Time:          9:00 a.m..
14                          Defendant.                )     Courtroom:     Hon. Oliver W. Wanger
                                                      )
15
16            IT IS HEREBY STIPULATED between plaintiff, the United States of America, and the
17   defendant ELIZABETH BEAUFORD by and through her attorney, that the Sentencing Hearing set for
18   Monday, May 12, 2008, at 9:00 a.m. be vacated and set on AUGUST 25, 2008, at 9:00 a.m.
19             Time is to be excluded due to my unavailability pursuant to 18 USC 3161.
20                                                        Respectfully submitted,
21
22   DATED: May 6, 2008                                   /s/ Richard A. Beshwate, Jr.
                                                          RICHARD A. BESHWATE, JR.
23                                                        Attorney for Defendant,
                                                          ELIZABETH BEAUFORD
24
25   ///
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27
     U.S. v. ELIZABETH BEAUFORD, et al.
28   STIPULATION AND ORDER FOR RESETTING SENTENCING
     CASE NUMBER: 1:07-cr-00057 OWW                                                                1
       Case 1:07-cr-00057-OWW Document 112 Filed 05/08/08 Page 2 of 2


 1   DATED: May 6, 2008                                   /s/ Stanley Boone
                                                          STANLEY BOONE, AUSA
 2
 3                                                     Approved verbally by all parties on May 6, 2008
 4
 5
 6                                                    ORDER
 7          In accordance with the stipulation, IT IS HEREBY ORDERED that the Sentencing Hearing set
 8   for Monday, May 12, 2008, at 9:00 a.m. is VACATED and RESET for AUGUST 25, 2008, at 9:00
 9   a.m. Time is excluded pursuant to 18 USC 3161.
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11   IT IS SO ORDERED.
12   Dated: May 7, 2008                               /s/ Oliver W. Wanger
     emm0d6                                      UNITED STATES DISTRICT JUDGE
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     U.S. v. ELIZABETH BEAUFORD, et al.
     STIPULATION AND ORDER FOR RESETTING SENTENCING
     CASE NUMBER: 1:07-cr-00057 OWW                                                                  2
